
Shea bee, J.
The question presented for decision is whether a creditor of a deceased person may, before the settlement of the estate by the executor or administrator, recover his debt against the heir who has received assets; or must he pursue his'remedy against the personal representative of the decedent?
The widow in this case is the sole devisee and legatee of the testator; but the testamentary provision for her was necessarily subject to the debts of her husband. What she took was the surplus remaining after the discharge of such indebtedness. Until the debts were paid, the amount to which she was entitled was uncertain and indefinite. As against creditors, she had no right to the possession of the assets until these claims were satisfied.
To the extent that the assets were necessary for this purpose, 'at least, the title to such assets vested in the personal representative of the decedent; or pending the appointment of such representative, was in abeyance.
So much therefore of the assets as are necessary for the payment of plaintiff's claim, although in possession of the plaintiff in error, belong to the administrator, who must collect and administer them. Davis v. Corwine, 25 Ohio St. 674. The creditor may not, simply because assets have come into the hands of the heir or legatee of his debtor, sue such heir or legatee for the amount of his claim. He has no better right *297of action against such person than he would have against a stranger who had received such assets, and it will not be contended that the latter would be liable to such a suit.
The only cases in which heirs, etc., are liable at the suit of a creditor of their ancestor are those provided for by sections 6217 and 6218, Rev. Stat., and in those cases administration is contemplated as a condition precedent to the right to sue the heir or legatee. The heir’s liability does not arise until after the settlement of the estate by the executor or administrator. Where there has been no such settlement, no right of action exists against the heir or legatee.
Taylor v. Huber, 13 Ohio St. 288, relied on by defendant in error, is not at variance with these views. In that case the court rest the decision upon the fact that the fund sought to be recovered was specific and held in trust by the executors for the use of the beneficiaries. It had been segregated and set apart and did not constitute, in a legal sense, assets of the estate of the testator. The case was distinguished on this ground in Davis v. Corwine, supra.
Such is the doctrine of Nelson v. Hart, 8 Ind. 293, 295, the court holding that the widow and heirs were neither necessary nor proper parties in an action by a creditor of a deceased person to recover his debt. See also Stanford v. Stanford, 42 Ind. 485; Flach v. Davison, 69 N. C. 42.
And in Kentucky it was held, in an action by a creditor against a widow of his debtor, praying that judgment might be enforced against the assets in her hands — she having received alldier husband’s property — that such action was improper. Perry v. Seitz, 2 Duvall (Ky.), 122; Pomeroy’s Rem. and Rém. Rights, sec. 314.
In this view of the law it is no argument to say, as contended by defendant in error, that the widow is the sole beneficiary of the will; that she has paid all the debts except the one in suit; and that the burden of a defense by an administrator would fall upon her at all events, and that administration is unnecessary, a useless expense, without reason or justice. *298Such an argument might be persuasive if addressed to the legislature, but cannot avail in a court of justice sitting to administer the law as it is, and not as it is conceived it ought to be.
Allread &amp; BicJcel and Shoelmey, for plaintiffs in error.

Anderson &amp; Bowman, contra.

For these reasons we hold that no cause of action is stated in the petition, and the demurrer thereto ought to have been sustained.
Judgment reversed, -with costs, demurrer sustained, and cause remanded for further proceedings.
